Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 1 of 57
                           Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 2 of 57
                                                             L!\ITED STATES DISTRICT COL'RT
                                                       FOR THE EASTER"i DISTRICT OF PENNSYLVANIA

                                                                           DESIG!'liATIO!'li FOR\11
                     (to be used by counsel or pro se platnttff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

AddressofPlaintiff:_             G~ 'Disb~h~ C>rf)-bb .P&-t\evr:\. ~ ~IJ fl1d
AddressofDefendant:~ ~b-&~~j.\61<.~ 6Jv:-4u.ca~C.S,wf1 /1~( ·Jfi 1PJ/v'cl.. jJ/_~1 f/j
Place of Accident, Incident or Transaction: _ _ ____ _ __     _        _ ___ /CC 16


RELATED CASE, IF ANY:

Case Number-                                                     Judge                                                        Date Terminated

Civil cases are deemed related when Yes is answered to any of the following questmns

1.    ls this case related to property mcluded m an earlier numbered suit pendmg or withm one year                               YesD                  so!KJ
      previously terminated action in tlus court?

2     Does this case involve the same issue of fact or grow out of the same transaction as a prior smt                           YesD                  Not]
      pending or within one year previously terminated action in this court?

3.    Does this case involve the validity or infnngement of a patent already m smt or any earlier                                YesO                  NoeJ
      numbered case pending or within one year previously terminated action of this court?

4     ls this case a second or successive habeas corpus, social security appeal, or pro se civil nghts                           YesO                  NoD
      case filed by the same individual?


             ez
1 certify that, to_ my knowledge, the within case
                      ~roted above.
                                                                                 related to any case now pending or within one year prevmusly terminated action in


             or L~-----
this court

DATE
                                                                                                                                            Attorney ID # (if applzcable)


CIVIL: (Place a     vin one category only)
A.            Federal Question Cases:                                                        B.    Diversity Jurisdiction Cases:

D      i.  lndemmty Contract, Marme Contract, and All Other Contracts                       01           Insurance Contract and Other Contracts
D      2.  FELA                                                                             D 2.         Airplane Personal Injury
D      3.  Jones Act-Personal Injury                                                        D 3.         Assault, Defamation
D      4.  Antitrust                                                                        D 4.         Marme Personal Injury

B~-
o
           Patent
           Labor· Management Relations
       7. Civil Rights
                                                                                            D 5.
                                                                                            D 6.
                                                                                            D 7
                                                                                                         Motor Vehicle Personal Injury
                                                                                                         Other Personal Injury (Please specify)
                                                                                                         Products Liability
D      8. Habeas Corpus                                                                     D 8.         Products Liability · Asbestos
       9. Securities Act( s) Cases                                                          D 9.         All other Diversity Cases
       10. Social Security Review Cases                                                                  (Please specify) ___ _
       11 All other Federal Question Cl!Se~ / -fJ. 0 ,~
              (Please specify;     C'fy £j.N:r _,...t·J~~'1a~--

                                                                              ARBITRATIO!'I CERTIFICATION
                                                   (I'he effect of this certzficatzon 1s to remove the case from elzgzb1lzty for arb1tratzon)

!, _______                                   ----~counsel             of record or prose pla1111Iff; do hereby certify


     D       Pursuant to Lqcal Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
             exceed the sum of $150,000.00 exclusive of mterest and costs.


     D        Relief other than monetary damages is sought.


DATE - - - - -
                                                                                                                                                'AUG 24 2018
                                                                          Attorney-at-Law I Pro Se P/azntzff                                Attorney ID #(if applzcable)

NOTE A tnal de nova will be a tnal by JUI)' only 1fthere has been comphance with FR C P 38

Civ 609 (5120181
           Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 3 of 57


                       I-" THE UNITED STATES DISTRICT COURT
                    FOR THE EASTER.1'J DISTRICT OF PENNSYLVANIA

                   CASE MASAGEMENT TRACK DESIGNATION FORM

                                                                            CIVIL ACTION

                       V.

                                                                            NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designat10n Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWI-"G CASE MA.1'JAGEMENT TRACKS:

(a) Habeas Corpus·- Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                 ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.     ( )

(d) Asbestos ·Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                          ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.




                                                                        Attorney for

                                                                     ctM:ke,ciP~~~r.-
Telephone                          FAX Number                           E-Mail Address


(Civ. 660) 10102




                                                                                     rAUG 24 2018
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 4 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 5 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 6 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 7 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 8 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 9 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 10 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 11 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 12 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 13 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 14 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 15 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 16 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 17 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 18 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 19 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 20 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 21 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 22 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 23 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 24 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 25 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 26 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 27 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 28 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 29 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 30 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 31 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 32 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 33 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 34 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 35 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 36 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 37 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 38 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 39 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 40 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 41 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 42 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 43 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 44 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 45 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 46 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 47 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 48 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 49 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 50 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 51 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 52 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 53 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 54 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 55 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 56 of 57
Case 2:18-cv-03647-MSG Document 1 Filed 08/24/18 Page 57 of 57
